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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                     §
                                                           §    Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                                 §    Chapter 11 (Subchapter V)
                                                           §
         Debtor.                                           §

   DECLARATION OF AARON YOUNGREN IN SUPPORT OF APPLICATION FOR
   APPROVAL OF THE EMPLOYMENT OF RED BALLOON, LLC AS EXECUTIVE
                    RECRUITER FOR THE DEBTOR

STATE OF IDAHO                  )
                                )
COUNTY OF LATAH                 )


Aaron Youngren, being duly sworn, deposes and says:

         1.     I am over 18 years of age and, if called as a witness, would testify as to the matters

set forth below based upon my personal knowledge, except where otherwise indicated below:

         2.     I am the Head of Product and Delivery Red Balloon, LLC (“RED BALLOON”),

which is a professional services firm with offices in Moscow Idaho. Except as otherwise noted, I

have personal knowledge of the matters set forth in this Declaration.

         3.     I am submitting this Declaration in support of the Debtor’s Application for

Authorizing Employment of Red Balloon, LLC as Executive Recruiter for The Debtor (the "Application").

         4.     RED BALLOON provides recruiting and executive search expertise with a focus which

aligns with the values and focus of FSS. As such, Red Balloon is uniquely suited to identify applicants

suited to work for FSS. RED BALLOON services involve developing an understanding of a client’s

industry, its day to day operations, the functions of the positions to be filled and identifying talented

professionals to fill the specific needs of our clients.

         5.     RED BALLOON was not employed by the Debtor prior to the Petition Date.


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Services to be Provided.
        6.      In connection with the proposed engagement, I, anticipate rendering the services

outlined in the Application in connection with this Chapter 11 Case.

        7.      The services provided by RED BALLOON are unique and are not intended to

duplicate the services that other professionals may provide to the Debtor in this Chapter 11 Case.

        8.      RED BALLOON has undertaken an internal analysis of past and present client

relationships from which to search for potential connections to this Chapter 11 Case. In particular,

RED BALLOON obtained from the Debtor and/or its representatives the names of individuals and

entities that may be parties-in-interest in this Chapter 11 Case (“Parties-in-Interest”) and such

parties are listed on the Debtor’s creditor matrix filed with this Court. RED BALLOON is a

consumer of goods or services of certain creditors identified in the creditor matrix, but otherwise

has no connection to the Debtor, their creditors, or other parties-in-interest, or their respective

attorneys and accountants, the Office of the United States Trustee for the Southern District of

Texas (the “U.S. Trustee”) or any person employed in the Office of the U.S. Trustee; and does not

hold any interest that is adverse to the Debtor’s estate or to any class of creditors or equity security

holders, by reason of any direct or indirect relations to, connection with, or interest in the Debtor.

        9.      Neither I nor the RED BALLOON hold any interest adverse to the Debtor, as

required by 11 U.S.C. §§ 327(a); additionally, we are disinterested persons pursuant to 11 U.S.C.

§101(14). To the extent that I become aware of any additional relationships, I will promptly file a

supplemental affidavit. After examining potential conflicts, except as set forth herein, I am

unaware of any circumstances where RED BALLOON has been adverse to the Debtor and a

review of the names of the primary creditors and insiders of the Debtor has revealed no prior

connections between RED BALLOON and the Debtor’s Creditors and Parties in Interest.




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          10.      Except for the proposed employment by the Debtor, neither I nor RED BALLOON

has represented nor will represent any other entity in connection with this Case, and neither I nor

RED BALLOON will accept any fee from any other party or parties in this Case except as set out

herein. RED BALLOON is a "disinterested person" as that term is defined in Section 101(14) of

the Bankruptcy Code in that RED BALLOON and its professionals:

                a. Are not creditors, equity security holders, or insiders of the Debtor;

                b. Are not and were not, within two (2) years before the date of the filing of the

                   Debtor’s Chapter 11 petition, a director, officer, or employee of the Debtor; and

                c. Do not have an interest materially adverse to the interest of the estate or of any class

                   of creditors or equity security holders, by reason of any direct or indirect

                   relationship to, connection with, or interest in, the Debtor.

          11.      The terms of RED BALLOON’s engagement with the Debtor to assist it in

connection with this chapter 11 case do not vary from RED BALLOON’s customary billing

arrangements for similar engagements. RED BALLOON’s rates do not vary based upon the

geographic location of the bankruptcy case.

          12.      RED BALLOON’s engagement will commence upon entry of an order approving

RED BALLOON’s employment.

          13.      Subject to Court approval and in accordance with Section 330(a) of the Bankruptcy

Code, compensation will be payable to AB on the following basis:

          Non-refundable Service Fee of $4,500.00 per position to be filled.

          14.      RED BALLOON has not agreed to share any compensation received with any other

entity.




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        15.     RED BALLOON recognizes its continuing responsibility to be aware of, and to

further disclose, any relationship or connection between it and other parties in interest to the

Debtor’s bankruptcy estate as they appear or become recognized during the Case. Accordingly, I

reserve the right to, and shall supplement this disclosure if necessary, as more information becomes

available to us.

        16.     Pursuant to 28 U.S.C. §1746(2), I declare under penalty of perjury under the laws

of the United States of America that the foregoing is true and correct.

Executed October 13, 2023


 /s/ Aaron Youngren
Aaron Youngren




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